Case 2:22-cv-14102-DMM Document 237-1 Entered on FLSD Docket 08/04/2022 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP                                       Case No.: 2:22-cv-14102-DMM

                         Plaintiff,

          v.
                                                       DECLARATION OF ALINA HABBA, ESQ.
   HILLARY R. CLINTON, HFACC, INC.,
   DEMOCRATIC NATIONAL COMMITTEE,
   DNC SERVICES CORPORATION, PERKINS
   COIE, LLC, MICHAEL SUSSMANN, MARC
   ELIAS, DEBBIE WASSERMAN SCHULTZ,
   CHARLES HALLIDAY DOLAN, JR., JAKE
   SULLIVAN, JOHN PODESTA, ROBERT E.
   MOOK, PHILLIPE REINES, FUSION GPS,
   GLENN SIMPSON, PETER FRITSCH,
     NELLIE OHR, BRUCE OHR, ORBIS
   BUSINESS INTELLIGENCE, LTD.,
   CHRISTOPHER STEELE, IGOR DANCHENKO,
   NEUSTAR, INC., RODNEY JOFFE, JAMES
   COMEY, PETER STRZOK, LISA PAGE,
   KEVIN CLINESMITH, ANDREW MCCABE,
   JOHN DOES 1 THROUGH 10 (said names
   being fictious and unknown persons), and
   ABC CORPORATIONS 1 THROUGH 10 (said
   names being fictitious and unknown entities),
   ,

                         Defendants.


      I, Alina Habba, pursuant to 28 U.S.C. § 1746, declare as follows:

          1.     I am managing partner of the firm of Habba Madaio & Associates LLP, counsel for

   Donald J. Trump (“Plaintiff”) in the above-captioned matter (the “Action”).

          2.     I submit this declaration pursuant to Federal Rule of Civil Procedure 65 and Local

   Rule 7.1, in support of Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to




                                                  1
Case 2:22-cv-14102-DMM Document 237-1 Entered on FLSD Docket 08/04/2022 Page 2 of 3




   Dismiss the Amended Complaint. The facts herein are true and correct and, unless otherwise

   stated, are within my personal knowledge.

          3.      As counsel for Plaintiff, I have reviewed pleadings, and other documents related to

   the Action, and I am familiar with the facts and circumstances of this case.

          4.      Attached hereto as Exhibit A is a true and accurate copy of the First General

   Counsel’s Report dated April 10, 2019 in the matter of In the Matter of DNC Services

   Corp./Democratic National Committee and William Q. Derrough in his official capacity as

   treasurer; Hillary for America and Elizabeth Jones in her official capacity as treasurer; Perkins

   Coie LLP; Marc Elias; Fusion GPS; Christopher Steele, Federal Election Commission (FEC),

   MURs 7291, 7331 and 7449, and the corresponding Certification of the FEC executive session

   dated July 26, 2021.

          5.      Attached hereto as Exhibit B is a true and accurate copy of the Indictment dated

   September 16, 2021 in the matter of United States v. Sussmann, case no. 1:21-cr-00582-CRC,

   United States District Court, District of Columbia.

          6.      Attached hereto as Exhibit C is a true and accurate copy of the Government’s

   motion in limine dated April 4, 2022 in the matter of United States v. Sussmann, case no. 1:21-cr-

   00582-CRC, United States District Court, District of Columbia.

          7.      Attached hereto as Exhibit D is a true and accurate copy of the Indictment dated

   November 3, 2021 in the matter of United States v. Danchenko, case no. 1:21-cr-00245-AJT,

   Eastern District of Virginia.


   Dated: August 4, 2022,                       By:      __________________________________
                                                         Alina Habba, Esq.
                                                         HABBA MADAIO & ASSOCIATES LLP
                                                         1430 U.S. Highway 206, Suite 240
                                                         Bedminster, New Jersey 07921

                                                    2
Case 2:22-cv-14102-DMM Document 237-1 Entered on FLSD Docket 08/04/2022 Page 3 of 3




                                             -and-
                                             112 West 34th Street, 17th & 18th Floors
                                             New York, New York 10120
                                             Telephone: (908) 869-1188
                                             Facsimile: (908) 450-1881
                                             E-mail: ahabba@habbalaw.com
                                             Attorneys for Plaintiff,
                                             Donald J. Trump




                                         3
